Case 3:20-cv-12827-MAS-DEA Document 14 Filed 12/04/20 Page 1 of 12 PagelD: 415

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW JERSEY

 

MICHAE IANO™
© bet EN Document Filed Electronically

Plaintiff Corporate Entity,

y Case No.: 3:20-cv-12827-MAS-DEA

M&T BANK,
PARKER McCAY P.A. LAW
OFFICES et al. and all Unknown Parties,

Defendants.

 

 

 

DEFENDANT M&T BANK’S REPLY MEMORANDUM OF LAW IN FURTHER
SUPPORT OF ITS MOTION TO DISMISS THE COMPLAINT

 

On the Brief:

James P. Berg, Esq. (Parker Ibrahim & Berg LLP)
Case 3:20-cv-12827-MAS-DEA Document 14 Filed 12/04/20 Page 2 of 12 PagelD: 416

 

TABLE OF CONTENTS
TABLE OF AUTHORITIES ou... eeseeeeeessenerecsceseseesessceeeseesseecseceesessceeenseseseeeaersseeeeeseeseens ii
PRELIMINARY STATEMENT .......cccssscccsscessssecessssessessecescesssscecesacsssceeeseseceasaseeseasesseseeesseessenes 1
STATEMENT OF FACTS AND PROCEDURAL HISTORY... eessesseecessesneeeseenensscessesnens 2
LEGAL ARGUMENT. ......0 ccc cccsscscsessecsecsessessecsassecsevsessessecescneseesacsecsesanesaesssenspacesssaseaseeeaaas 2

I. PLAINTIFF’S OPPOSITION DEMONSTRATES PRECISELY
WHY THIS COURT SHOULD DISMISS THEIR COMPLAINT AS
AGAINST M&T BANK FOR LACK OF SUBJECT MATTER

JURISDICTION ooo ecccsccessssecssnescesseseessesecesssecsaeseesseeeeasesssseceeseseesessecsessenseenees 2
A. Plaintiff's Allegations Are An Attack on The State Foreclosure Action.............. 3
B. Plaintiff's Allegations Support Abstention Under Colorado River .................06 5

C. Plaintiff's Allegations Support Dismissal Under the Entire
Controversy Doctrine... eeseescsscssesecessessceeseccarsseesesseceeesaseneereaeeaseneneesseesnates 6
D. Plaintiff Fails to Address Defendant’s Remaining Argument.............c:ccccseeeeees 7
CONCLUSION Q0...ecccceccessssssssessesesscssesecneceesceasneesnsesesssasenseaseseaasensesessenseaessecaueseseneseeeessasseeeeeenees 8
Case 3:20-cv-12827-MAS-DEA Document 14 Filed 12/04/20 Page 3 of 12 PagelD: 417

TABLE OF AUTHORITIES
Cases

Campbell v. Tabas
No. 16-6513, 2017 U.S. Dist. LEXIS 115722, 2017 WL 3142 118 (E.D. Pa. July 25, 2017)... 4

Circle Chevrolet Co. v. Giordano, Halleran & Ciesla

142 N.J. 280 (1995) o..ecccccccssecceccsceeceesseseeeseseessensecenseeaesseasecsvacesasseesssssseessssssneseessseescssteeaseeesseres 7
Colo. River Water Conservation Dist. v. United States

424 ULS. 800 (1976)... cccessccsseseeecscesseecesesseesesseecssesesaeeseesecssessessasssncessnenesssesessesseseasenacessassesees 6
Common Cause of v. Pennsylvania

558 F.3d 249, 257 (3d Cir. 2009)........cccescscseceseesseeseeeescccescesasseaesessesesvscsasssssecsessessssnesesssaesneress 2
Culver v. Ins. Co. of N. Am.,

LI5.N.J. 451, 559 A.2d 400 (1989)... ccccseseeseeeeeseeneesssensesseeesseserssseseessssesaseesesssenssessseeneeees 8
DaimlerChrysler Corp. v. Cuno

547 U.S. 332 (2006).......ccsscssesseecesccssrececcsscenesseesseseceesceesesssessesnsescssseussssssesneesesneesesssuasessssesseesees 2
Davis v Kahn

Civil Action No. 18-8560, 2019 US Dist. LEXIS 69408 (D.N.J. Apr. 24, 2019)... 5
EEOC v. Univ. of Pa.

850 F.2d 969 (3d Cir. 1988)... eecssccssccesssecessecesseseessseecesesaeeseveccsseseesesseesessessensssesseeussesseeeeees 7
Gage v Wells Fargo Bank, N.A.

521 F. App’x 49, 51 (3d Cri. 2013) 0... cee ceececsceeeceecescceeeeeeessecsaeessesasessssaessseseesaseeseaseceeeaeasenenes 5
Great W. Mining & Mineral Co. v. Fox Rothschild LLP

615 F.3d 159 (3d Cir. 2010)... ccc cccseecesessecessscessseeetsnsscessesceseseecnsseessesscseersvaceseesevsseeessseasensene® 5
IFC Interconsult, AG v. Safeguard Int’l. Partners, LLC.

438 F.3d 298 (3d Cir. 2006).........:cccccscessesseseesseeseseescesececesseescsssesssssescesscsassevssesasesesseacsaseeeseeesees 6
In re Farrington

No. 17-1775, 2019 US Dist. LEXIS 40048, 2019 WL 1149881 (D.N.J. Mar. 11, 2019) .......... 5
Kahn v. GMC

889 F.2d 1078 (Fed. Cir. 1989)... cccssescsssccesssceesenssasesesecsaneaeseceaseassacecesenseeaceaseaceaseesseeaeeeasense 7

Kajla v. Cleary
No. 18-15449, 2019 U.S. Dist. LEXIS 61, 2019 WL 77067 (D.N.J. Jan. 2, 2019)... eee 5

ii
Case 3:20-cv-12827-MAS-DEA Document 14 Filed 12/04/20 Page 4 of 12 PagelD: 418

Kougasian TMSL. Inc.

359 F.3d 1136 (Oth Cir. 2004 ) ooo. ee ccsecssecesesseeeseeescesaeeeeesssescesssesesseeesesesseecsesssesevseeagessesasenes 4
McCormick v. Braverman

451 F.3d 382 (6th Cir. 2006) oo... s.sseesecssecseesseecsrecneesecssessessnsesnessnsssnssssensssnesnecssessnessnsssnesnecsnnensne 4
Nationwide Mut. Fire Ins. Co. v. George V. Hamilton, Inc.

571 F.3d 299, 307 (3d Cir. 2009)... ceccsesscescsseesesneeeesavseesavsessassecsessecesesesssecesenrssssssssssssrenteese 6
Ryan v. Johnson

115 F.3d 193 (3d Cir. 1997)... ee cccsssessecscctseneetsesessrsseeersscesersessserseeseesssesesssesseasaseesseseeeeseeees 6
Spuck vy. Pa. Bd. of Prob. & Parole

563 F. App’x 156 (3d Cir. 2014) oe eeeeeseseeeeseceesereseseessssassnsessssssasseessesesasssesseaseseseasseseneenaa 3
Rules
Fed. R. Civ. P. 12(0)(1)..... cceeseeseeecesseesesseeecceecseeessscsessesseesceecsseceessecesssseessseesssesseseseescneeeeseaeanes 1,2

iii
Case 3:20-cv-12827-MAS-DEA Document 14 Filed 12/04/20 Page 5 of 12 PagelD: 419

Defendant M&T Bank (“M&T Bank”),! by and through its undersigned counsel,
respectfully submits this Reply Memorandum of Law (the “Reply”) in response to the Notice of
Objection to Defendant M&T Bank’s Motion to Dismiss Plaintiffs Complaint (the
“QOpposition”) filed by pro se Plaintiff Michael Patrick Siano™ (“Plaintiff”), and in further
support of M&T Bank’s motion to dismiss for lack of subject matter jurisdiction pursuant to Fed.
R. Civ. P. 12(b)(1)(“Motion”).

PRELIMINARY STATEMENT

 

Even with the benefit of the Court’s consideration of the late filed Opposition (which the
Court should reject), Plaintiff fails to oppose M&T Bank’s arguments that the Complaint should
be dismissed pursuant to the Rooker-Feldman, Colorado River, New Jersey’s Entire Controversy
Doctrine, the First-Filed Rule and the doctrines of res judicata and collateral estoppel. The
Opposition ignores the fact that M&T Bank does not place the “substance” of Plaintiffs claims
in dispute in its Motion. Rather, the Motion disputes Plaintiffs right to be heard by this Court on
duplicative claims against M&T Bank which were (or could have been) raised in the State

2 Instead, Plaintiff uses his Opposition to once again rehash his tortured,

Foreclosure Action.
confusing and unfounded accusations of fraud and rescission claims under TILA.

Even affording Plaintiff with every inference to be gleaned in his Opposition papers, the
procedural history of the State Foreclosure Action and legal authority that M&T Bank has placed

before the Court in its Motion demonstrate that Plaintiff misapprehends the law, appears to argue

the incorrect legal standard to be applied to its Motion, and completely misses the mark by

 

1 Capitalized terms not otherwise defined herein utilize the definitions contained in M&T’s
moving memorandum of law.

2 Notwithstanding, M&T Bank categorically denies Plaintiffs allegations. To the extent that
any of Plaintiff's claims survive dismissal for lack of subject matter jurisdiction, M&T Bank
reserves all rights available at law and equity to seek dismissal of their claims for lack of merit
under the Federal Rules of Civil Procedure.
Case 3:20-cv-12827-MAS-DEA Document 14 Filed 12/04/20 Page 6 of 12 PagelD: 420

improperly attempting to forum shop by asking this Court to intervene in a dispute that that is
currently pending in the State Foreclosure Action.

Accordingly, for these reasons, the reasons set forth in M&T Bank’s Motion and those set
forth more fully below, M&T Bank respectfully submits that Plaintiff's Complaint should be
dismissed with prejudice.

STATEMENT OF FACTS AND PROCEDURAL HISTORY

As an initial matter, M&T Bank rejects Plaintiff's Statement of Facts and Standard of
Law as it is replete with factual and legal inaccuracies. Instead, M&T Bank respectfully refers
this Court to its Motion papers including its Memorandum of Law for a comprehensive recitation
of the underlying facts, procedural history of the dispute and State Foreclosure Action between
Plaintiff and M&T Bank with corresponding exhibits to support same.

LEGAL ARGUMENT
PLAINTIFF’S OPPOSITION DEMONSTRATES PRECISELY WHY THIS COURT
SHOULD DISMISS THE COMPLAINT AS AGAINST M&T BANK FOR
LACK OF SUBJECT MATTER JURISDICTION

M&T’s Motion is a straightforward motion that demonstrates this Court lacks subject
matter jurisdiction pursuant to Fed. R. Civ. P. 12(b)(1), the Rooker-Feldman doctrine, abstention
pursuant to Colorado River, New Jersey’s Entire Controversy Doctrine, First-Filed Rule and the
doctrines of res judicata and collateral estoppel. In Opposition, Plaintiff was required to
affirmatively demonstrate why this Court has subject matter jurisdiction when there is a
judgment and pending action concurrently being litigated in the General Equity Division in the
New Jersey Superior Court. See Common Cause v. Pennsylvania, 558 F.3d 249, 257 (3d Cir.
2009) (citing DaimlerChrysler Corp. v. Cuno, 547 U.S. 332, 342 (2006)). Plaintiff has failed to

do so. Indeed, Plaintiff's oft-repeated unsupported allegations of fraud and TILA rescission
Case 3:20-cv-12827-MAS-DEA Document 14 Filed 12/04/20 Page 7 of 12 PagelD: 421

claims - which relate to the origination of the mortgage loan presently being litigated in the State
Foreclosure Action - only serve to bolster support for dismissal of the Complaint. Plaintiff does
not (and cannot) dispute that there is an active foreclosure proceeding associated with Plaintiff's
Property pending in the State Foreclosure Action which includes an Order granting M&T Bank’s
Motion for Summary Judgment as well as an Order of Final Judgment. See Berg Decl., ff] 6, 12,
14, Exhs. 5, 11 & 13. Plaintiff does not (and cannot) dispute that the precise unfounded
allegations and identical causes of action alleged in the instant action were already rejected in the
State Foreclosure Action. See Berg Decl., {J 6, 18, Exhs. 5 & 17. Plaintiff does not (and cannot)
dispute that his attempts to vacate the Order of Final Judgment in the State Foreclosure were
already rejected in the State Foreclosure Action. See Berg  Decl.,
6, 19, Exhs. 5 & 18.

Instead, unsatisfied with the rulings in the State Foreclosure Action, this action appears to
be Plaintiff's latest attempt to forum shop and extend the State Foreclosure Action which has
been pending since August 19, 2019.

A. Plaintiff’s Allegations Are an Attack on The State Foreclosure Action

On the face of his Complaint, Plaintiff is seeking to collaterally attack the rulings in the
State Foreclosure Action. Plaintiff admits as much in his Opposition by resorting to his constant
refrain to the unsubstantiated allegations of fraud and TILA violations. Reason-being, Plaintiff
would like this court to reverse the Order of Final Judgment entered in the State Foreclosure
Action which is wholly improper as a matter of law pursuant to the Rooker-Feldman doctrine.

Under Rooker-Feldman, “federal district courts lack subject matter jurisdiction to sit in
direct review of state court decisions.” Spuck v. Pa. Bd. of Prob. & Parole, 563 F. App’x 156,

159 (3d Cir. 2014) (citing Exxon Mobil Corp. v. Saudi Basic Indus. Corp., 544 U.S. 280, 284
Case 3:20-cv-12827-MAS-DEA Document 14 Filed 12/04/20 Page 8 of 12 PagelD: 422

(2005)). “[A]pplication of the Rooker-Feldman doctrine is necessarily limited to ‘cases brought
by state-court losers complaining of injuries caused by state-court judgments rendered before the
district court proceedings commenced and inviting district court review and rejection of those
judgments.” Jd. (quoting Exxon Mobil Corp., 544 U.S. at 280). A decision to consider, let
alone grant the relief requested by Plaintiff in the instant matter would effectively undermine the
decisions rendered in the State Foreclosure Action Order which granted M&T Bank’s Motion for
Summary Judgment and entered an Order of Final Judgment against Plaintiff.

For this reason alone, the Rooker-Feldman doctrine must apply to preclude this Court from
adjudicating Plaintiff's claims.

Moreover, it appears that the only argument that can be gleaned from Plaintiffs
Opposition papers regarding the application of the Rooker-Feldman doctrine is that this doctrine
does not apply if there are allegations of fraud or misrepresentation. Not surprisingly, Plaintiff
fails to cite any case law to support his position - nor could he - as the Third Circuit has not

adopted a fraud exception to the Rooker-Feldman doctrine. As this Court recently held:

Plaintiff... argues that her claims fall within the “fraud exception” to the
Rooker-Feldman Doctrine, and therefore the Court still has jurisdiction
over the matter. “Under the fraud exception, which has been embraced by
the Courts of Appeal for the Sixth and Ninth Circuits, Rooker-Feldman
does not apply when the plaintiff asserts that the ‘state court judgments
were procured by ... [the dJefendants through fraud, misrepresentation, or
other improper means,’ because such claims are “independent” of the
claims brought in state court.” Campbell v. Tabas, No. 16-6513, 2017 U.S.
Dist. LEXIS 115722, 2017 WL 3142 118, at *3 (E.D. Pa. July 25, 2017)
(quoting McCormick v. Braverman, 451 F.3d 382, 392-93 (6th Cir. 2006)
and citing Kougasian” TMSL. Inc., 359 F.3d 1136 (9th Cir. 2004 )). Yet,
“the Second, Fifth, Seventh, Eighth, Tenth, and Eleventh Circuits have
rejected the exception as have district courts from the Fourth Circuit.” Jd.
(citing appropriate cases from each of these circuits). “The Court of
Appeals for the Third Circuit has not definitively weighed in on this
debate, though it has discussed the exception in dicta and in
nonprecedential opinions.” Jd. (explaining that the Third Circuit discussed
Case 3:20-cv-12827-MAS-DEA Document 14 Filed 12/04/20 Page 9 of 12 PagelD: 423

the exception “favorably” in Great W. Mining & Mineral Co. v. Fox
Rothschild LLP, 615 F.3d 159 (3d Cir. 2010) and applied it
“inconsistently” in several unpublished opinions thereafter). Therefore, it
is unclear whether this exception exists within the Third Circuit.

Regardless, even if the Court were to recognize the fraud exception, it
does not apply here. The fraud exception to the Rooker-Feldman Doctrine
does not protect a plaintiffs “attempt[] to overturn a state-court
foreclosure judgment by cloaking his objections to the [state-court]
decision in a veneer of fraud.” Kajla v. Cleary, No. 18-15449, 2019 U.S.
Dist. LEXIS 61, 2019 WL 77067, at *3 (D.N.J. Jan. 2, 2019). In other
words, a plaintiff

cannot evade Rooker-Feldman by arguing on appeal that he was
not injured by the foreclosure judgment, but rather by [the
defendant]'s purportedly fraudulent actions. [If] [t]he complaint
reveals [that] the nature of [the plaintiff]'s claims against [the
defendant] [is] that the [the defendant] had no right to foreclose.on
the property and therefore committed “criminal acts” by enforcing
the foreclosure judgment [then] [t]hese claims are in essence an
attack on the state court judgment of foreclosure .... [and are
therefore] properly dismissed under the Rooker-Feldman doctrine.
In re Farrington, No. 17-1775, 2019 US Dist. LEXIS 40048, 2019
WL 1149881, at *4 (D.N.J. Mar. 11, 2019) (quoting Gage v Wells
Fargo Bank, N.A., 521 F. App’x 49, 51 (3d Cri. 2013)).

(Davis v Kahn, Civil Action No. 18-8560, 2019 US Dist. LEXIS 69408, at *12-14 (D.N.J. Apr.
24, 2019))).

Plaintiffs Complaint is nothing more than an attempt to collaterally attack the rulings
issued by the state court in the State Foreclosure Action and is therefore wholly barred by the
Rooker-Feldman doctrine. See id.

B. Plaintiff’s Allegations Support Abstention Under Colorado River

This Court should also dismiss the Complaint and abstain from exercising jurisdiction
over this matter pursuant to the Colorado River abstention doctrine. In an effort to interpret and
decipher the Opposition papers, it appears that Plaintiff argues that his Foreclosure Counterclaim
was rejected and not considered in the State Foreclosure Action. This position is wholly

irrelevant to this Court’s analysis under the Colorado River Doctrine. Reason-being, the
Case 3:20-cv-12827-MAS-DEA Document 14 Filed 12/04/20 Page 10 of 12 PagelD: 424

Colorado River doctrine — unlike other abstention doctrines, or estoppel and preclusion
arguments — does not require an adjudication on the merits to warrant dismissal of the present
action as against M&T Bank.

Rather, to determine whether abstention is appropriate, there need only be a parallel,
pending state proceeding that raises substantially identical claims, nearly identical allegations
and issues. See Nationwide Mut. Fire Ins. Co. v. George V. Hamilton, Inc., 571 F.3d 299, 307
(3d Cir. 2009) (citing Colo. River Water Conservation Dist. v. United States, 424 U.S. 800
(1976) (emphasis supplied). Here, this Court need only compare Plaintiff's Complaint in the
present action, with the Foreclosure Counterclaim in the State Foreclosure Action to see that
Plaintiff is litigating substantially identical claims, allegations and issues with M&T Bank in two
(2) separate parallel pending proceedings. See IFC Interconsult, AG v. Safeguard Int’l. Partners,
LLC., 438 F.3d 298, 306 (3d Cir. 2006); Ryan v. Johnson, 115 F.3d 193, 196 Gd Cir. 1997); see
also Berg Decl., J] 18, 20 Exhs. 17, 19. Beyond recapitulating the tortured, confusing and
unsubstantiated allegations of fraud and TILA rescission, Plaintiff has made no effort to rebut
M&T Bank’s arguments in favor of abstention in the instant litigation. As such, this Court
should abstain from exercising jurisdiction over this matter.

Cc, Plaintiff's Allegations Support Dismissal Under The Entire Controversy
Doctrine

As set forth in M&T Bank’s Motion, Plaintiffs claims are also barred by the entire
controversy doctrine. Plaintiff's Complaint involves one controversy simply because the claims
arise from the same “core set of facts”: i.e., Plaintiff's loan. Nothing prevented Plaintiff from
asserting the claims he now asserts in the present action in the State Foreclosure Action.

Plaintiff's only apparent argument is that his Foreclosure Counterclaim, which he admits

contains the same allegations as the present action, was not considered in the State Foreclosure
Case 3:20-cv-12827-MAS-DEA Document 14 Filed 12/04/20 Page 11 of 12 PagelD: 425

Action. That, of course, is not the standard as to whether the entire controversy doctrine applies:
the doctrine “requires a party to bring in one action ‘all affirmative claims that [it] might have
against another party, including counterclaims and cross-claims,’ and to join in that action ‘all
parties with a material interest in the controversy,’ or be forever barred from bringing a
subsequent action involving the same underlying facts.” Rycoline Prods., 109 F.3d at 885
(quoting Circle Chevrolet Co. v. Giordano, Halleran & Ciesla, 142 N.J. 280 (1995)). To the
extent Plaintiff's Complaint asserts claims that were not raised in the State Foreclosure Action,
the entire controversy doctrine has “forever barred” him from doing so.

D. Plaintiff Fails to Address Defendant’s Remaining Arguments

This Court also lacks subject matter jurisdiction to hear Plaintiff's claims based on the
First-Filed Rule, Res Judicata and Collateral Estoppel. Plaintiff has not raised any argument to
suggest that the Complaint is anything other than an attempt to have this Court reconsider the
prior decisions of the State Foreclosure Action which relate to the same controversy — i.e. the
Loan.

Not only does Plaintiff fail to address M&T Bank’s remaining arguments related to First-
Filed Rule, Res Judicata and Collateral Estoppel, but Plaintiff's admission that he attempted to
file the identical Foreclosure Counterclaim in the State Foreclosure Action only serves to bolster
M&T Bank’s argument. As set forth in M&T Bank’s Motion, the “first-filed” rule is a well-
settled legal doctrine, instructing that the court that first has possession of the subject matter,
must decide it. EEOC v. Univ. of Pa., 850 F.2d 969 (3d Cir. 1988); see also Kahn v. GMC, 889
F.2d 1078, 1081 (Fed. Cir. 1989). Further, res judicata, or claim preclusion, bars re-litigation of

claims not only to all matters litigated and determined by such judgment but also as to all
Case 3:20-cv-12827-MAS-DEA Document 14 Filed 12/04/20 Page 12 of 12 PagelD: 426

relevant issues which could have been presented, but were not. Culver v. Ins. Co. of N. Am., 115
N.J. 451, 463, 559 A.2d 400, 406 (1989).

Finally, Plaintiff's attempt to file the identical Foreclosure Counterclaim in the State
Foreclosure Action confirms that Plaintiff also believed that the claims arise from the same
transaction and that the State Foreclosure Action was the proper judicial forum to address those
issues. Plaintiff's admission that he believed the judge in the State Foreclosure Action Court was
prejudiced against him is an indication that the current action is simply an attempt to forum shop
in hopes a gaining a more advantageous decision and stall the pending foreclosure.

CONCLUSION
For these reasons and the reasons set forth in M&T Bank’s Motion, M&T Bank
respectfully requests that this Court enter an Order: (i) granting the instant motion, (ii)
dismissing Plaintiff's Complaint as to M&T Bank with prejudice, and (iii) granting M&T Bank
any such other and further relief as is just, proper, and equitable.
Respectfully submitted,

Dated: December 4, 2020 /s/ James P. Berg
James P. Berg, Esq.
PARKER IBRAHIM & BERG LLP
270 Davidson Avenue, 5“ Floor
Somerset, New Jersey 08873
Telephone: (908) 725-9700
Fax: (908) 333-6230

james.berg@piblaw.com

Attorneys for Defendant,
M&T Bank
